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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 0:16-cv-61732-WPD

  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff

  v.

  FRESHPOINT, INC.

         Defendant.

                                   STIPULATION OF DISMISSAL

         In accordance with the Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff

  SYMBOLOGY INNOVATIONS, LLC and Defendant FRESHPOINT, INC., by and through

  their undersigned attorneys, stipulate to the dismissal of all claims brought by Plaintiff in this

  action with prejudice, with each party bearing its own costs, attorneys’ fees and expenses.

  Dated: November 8, 2016                        Respectfully submitted,


  /s/ Joel B. Rothman                                 /s/ Edward M. Mulllins
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                                                  Attorneys for Defendant Freshpoint, Inc.



                                 CERTIFICATE OF SERVICE
          The undersigned does hereby certify that on November 8, 2016, a true and correct copy
  of the foregoing document was sent via electronic mail by the Court’s CM/ECF system to all
  parties listed below on the Service List.

                                              /s/ Joel B. Rothman
                                              JOEL B. ROTHMAN


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